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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION


UNITED STATES OF AMERICA     )
                             )
v.                           )                             CR NO. 2:09cr155-MHT
                             )                             (WO)
ANTONIO JIMENEZ-CHAVEZ       )
WILLY JOE MELGAREJO          )
JOSE LUIS ARRELLANO-PORTILLO )
SALVADOR JIMENEZ-MALDONADO )
LENY HERNANDEZ               )
UBLESTER CARDENAS-PORTILLO )

                            ORDER ON ARRAIGNMENT

      On September 16, 2009, the defendants, ANTONIO JIMENEZ-CHAVEZ, WILLY
JOE MELGAREJO, JOSE LUIS ARRELLANO-PORTILLO, SALVADOR
JIMENEZ-MALDONADO, LENY HERNANDEZ, UBLESTER CARDENAS-
PORTILLO, appeared in person and in open court with counsel Ben Schoettker (Jimenez-
Chavez), Aylia McKee (Melgarejo), Andrew Skier (Arrellano and standing in for Attorney
Richard Keith for defendant Hernandez), Jon Carlton Taylor (Maldonado) and Dan Hamm
(Cardenas-Portillo) and were arraigned in accordance with the provisions of Rule 10 of the
Federal Rules of Criminal Procedure.

       PLEA. The defendants entered a plea of NOT GUILTY. Counsel for the defendants
are requested to contact the U.S. Attorney immediately if the defendants intend to engage in
plea negotiations. If the defendants decide to change this plea, the parties shall file a notice
of intent to plead guilty or otherwise notify the clerk’s office at or before the pretrial
conference and then this action will be set on a plea docket.

      PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court no
longer requires the United States Probation Office to provide preliminary sentencing
guideline information to defendants. However, in difficult or complex cases defendants may
request the United States Probation Office to provide Sentencing Guideline calculation
assistance with the understanding that any estimate is tentative only and is not binding on the
United States Probation Office, the parties or the court. The court expects that requests for
Sentencing Guideline calculation assistance shall be the exception and that defendants will
not make such requests a matter of routine. A request for Sentencing Guideline calculation
assistance shall be made in writing to the supervisor of the Presentence Investigation Unit
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of the U. S. Probation Office not later than 10 days from the date of this order. The
calculation shall be completed not later than one week before the pretrial conference.

        PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for
October 5, 2009 at 9:00 a.m. before Magistrate Judge Wallace Capel, Jr., Courtroom 5A,
United States Courthouse, One Church Street, Montgomery, Alabama. Not later than three
(3) days prior to the date of the pretrial conference, counsel shall confer about the issues
and matters to be discussed at the pretrial conference as set forth in this order. Counsel
who want in-custody defendants to attend must notify the Magistrate Judge within three days
of the conference date so that an order to produce can be issued to the United States Marshal.

        At the pretrial conference defense counsel and counsel for the government shall be
fully prepared to discuss all pending motions, the status of discovery, possible stipulations,
and the estimated length of the trial. The defense counsel and counsel for the government
shall be fully prepared to provide a definite commitment as to the final disposition of this
case - by trial, plea or other non-trial disposition. If resolution of a dispositive motion will
affect the nature of this commitment, counsel must be fully prepared to discuss this type of
resolution. If the case is for plea, the notice of intent to enter a plea should be filed at the
time of the pretrial conference. If counsel require additional time for plea negotiations,
counsel should be prepared to inform the court about the date when those negotiations will
be completed.

         TRIAL. This case is set for trial before District Judge Myron H. Thompson on the
trial term beginning on November 30, 2009, unless otherwise ordered by the court.
          In setting this case for trial on the term indicated above, the court recognizes that the
Speedy Trial Act places limits on the court’s discretion, and that under the act, the trial of a
defendant must commence within 70 days of the date of the indictment or the date of the
defendant’s first appearance before a judicial officer, whichever is later. 18 U.S.C. §
3161(c)(1). In determining whether a case should be set after the expiration of the 70 day
period, a court must consider among other factors “[w]hether the failure to [set the case at
a later date] . . . would be likely to . . . result in a miscarriage of justice.” 18 U.S.C. §
3161(h)(8)(B)(I). The court also must consider “whether the failure to grant such a
continuance . . . would deny counsel for the defendant or the attorney for the government the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence.” 18 U.S.C. § 3161(h)(8)(B)(iv). Based on the nature of this case, the parties’
need for adequate time for discovery and the need for counsel to have adequate time for trial
preparation, the court finds that the ends of justice served by setting this case on this trial
term outweigh the best interest of the public and the defendant in a speedy trial. Any
requested voir dire questions and jury instructions must be filed no later than one week
before jury selection.


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        PRETRIAL MOTIONS. All pretrial motions under Fed.R.Crim.P. 12(b) and (d),
14 and 16, all notices under Fed.R.Crim.P. 12.1, 12.2 and 12.3, and any motion to compel
pursuant to this court's standing order on discovery must be filed no later than TWO DAYS
BEFORE THE FIRST PRETRIAL CONFERENCE HELD IN THIS CASE, except
that if the pretrial conference falls on Monday, the deadline for filing pretrial motions
is always the preceding Wednesday. No motion filed after this date will be considered
unless filed with leave of court. Unless otherwise ordered by the court, the continuance of
the trial of a case will not extend the time for filing pretrial motions. THE
CONFERENCING REQUIREMENT SET FORTH IN THE STANDING ORDER ON
CRIMINAL DISCOVERY SHALL BE MET BEFORE THE COURT WILL
CONSIDER ANY DISCOVERY MOTION. THE COURT WILL NOT GRANT
MOTIONS TO ADOPT MOTIONS FILED BY OTHER DEFENDANTS.

        Motions to suppress must allege specific facts which, if proven, would provide a basis
of relief. This court will summarily dismiss suppression motions which are supported only
by general or conclusory assertions founded on mere suspicion or conjecture. All grounds
upon which the defendant relies must be specifically stated in the motion in separately
numbered paragraphs in a section of the motion which is labeled "Issues Presented.".
Grounds not stated in the "Issues Presented" section of the motion will be deemed to
have been waived. See generally United States v. Richardson, 764 F.2d 1514,1526-27 (11th
Cir. 1985).

      The government shall file a response to all motions filed by the defendant on or
before five days prior to the date set for a hearing on the motion or, if no hearing is
necessary, on or before ten (10) days after the date of the pretrial conference.

       DISCOVERY. All discovery in this action shall be conducted according to the
requirements of this court's Standing Order on Criminal Discovery. A copy of the standing
order is attached and also may be found at http://www.almd.uscourts.gov/. Unless the
government provided initial disclosures to defendant prior to or at arraignment, the
government is ORDERED to tender initial disclosures to the defendant on or before
September 16, 2009. Disclosures by the defendant, as required by ¶ 4 of the Standing Order
on Criminal Discovery shall be provided on or before September 23, 2009 .

        JENCKS ACT STATEMENTS. The government agrees to provide defense counsel
with all Jencks Act statements no later than the day scheduled for the commencement of the
trial.1



       1
           In certain complex cases, the government may agree to earlier production.

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        MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all parties
are ORDERED to appear at all future court proceedings in this criminal case. Those
attorneys who find it impossible to be in attendance (especially at the pretrial conference,
jury selection, or trial) must make arrangements to have substitute counsel appear on behalf
of their clients. Any attorney who appears as substitute counsel for a defendant shall have
full authorization from the defendant to act on his or her behalf and be fully prepared to
proceed. Substitute counsel shall not be counsel for a co-defendant unless permitted by the
court after proper motion. Any counsel who wishes to have substitute counsel appear must
obtain permission of the court in advance.

      NOTE: Except in extraordinary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed by
counsel who appear at arraignment unless the motions are filed within seven days of the
date of this order. Failure to obtain fees from a client is not an extraordinary
circumstance.

       Done, this 23rd day of September, 2009.


                                   /s/ Susan Russ Walker
                                   SUSAN RUSS WALKER
                                   CHIEF UNITED STATES MAGISTRATE JUDGE




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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA

                                                                            CR. MISC. #534

                    STANDING ORDER ON CRIMINAL DISCOVERY

   It is the court's policy to rely on the standard discovery procedure as set forth in this Order
as the sole means of the exchange of discovery in criminal cases except in extraordinary
circumstances. This Order is intended to promote the efficient exchange of discovery without
altering the rights and obligations of the parties, but at the same time eliminating the practice
of routinely filing perfunctory and duplicative discovery motions.

INITIAL DISCLOSURES:

(1) Disclosure by the Government. At arraignment, or on a date otherwise set by the court
for good cause shown, the government shall tender to defendant the following:

(A) Fed. R. Crim. P. 16(a) Information. All discoverable information within the scope of
Rule 16(a) of the Federal Rules of Criminal Procedure.

(B) Brady Material. All information and material known to the government which may be
favorable to the defendant on the issues of guilt or punishment, without regard to materiality,
within the scope of Brady v. Maryland, 373 U.S. 83 (1963).

(C) Giglio Material. The existence and substance of any payments, promises of immunity,
leniency, preferential treatment, or other inducements made to prospective witnesses, within
the scope of United States v. Giglio, 405 U.S. 150 (1972).

(D) Testifying informant's convictions. A record of prior convictions of any alleged
informant who will testify for the government at trial.

(E) Defendant's identification. If a line-up, show-up, photo spread or similar, procedure was
used in attempting to identify the defendant, the exact procedure and participants shall be
described and the results, together with any pictures, and photographs, shall be disclosed.

(F) Inspection of vehicles, vessels, or aircraft. If any vehicle, vessel, or aircraft, was allegedly
utilized in the commission of any offenses charged, the government shall permit the
defendant's counsel and any expert selected by the defense to inspect it, if it is in the custody
of any governmental authority.


(G) Defendant's latent prints. If latent fingerprints, or prints of any type, have been, identified
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by a government expert as those of the defendant, copies thereof shall be provided.

(H) Fed. R. Evid.404(b). The government shall advise the defendant of its intention to
introduce evidence in its case in chief at trial, pursuant to Rule 404(b) of the Federal Rules
of Evidence.

(I) Electronic Surveillance Information. If the defendant was an aggrieved person as defined
in 18 U.S.C. § 2510(11), the government shall so advise the defendant and set forth the
detailed circumstances thereof.

(2) Obligations of the Government.

(A) The government shall anticipate the need for, and arrange for the transcription of the
grand jury testimony of all witnesses who will testify in the government's case in chief, if
subject to Fed. R. Crim. P. 26.2 and 18 U.S.C. ' 3500. Jencks Act materials and witnesses'
statements shall be provided as required by Fed. R. CRIM. P. 26.2 and 18 U.S.C. ' 3500.
However, the government, and where applicable, the defendant, are requested to make such
materials and statements available to the other party sufficiently in advance as
to avoid any delays or interruptions at trial. The court suggests an early disclosure of Jencks
Act materials.,

(B) The government shall advise all government agents and officers involved in the case to
preserve all rough notes.

(C) The identification and production of all discoverable evidence or information is the
personal responsibility of the Assistant United States Attorney assigned to the case and may
not be delegated without the express permission of the court.

(3) Disclosures to U.S. Probation. At arraignment, or on a date otherwise designated by the
court upon good cause shown, the government shall tender to the U.S. Probation Office all
essential information needed by U.S. Probation to accurately calculate the sentencing
guideline range for the defendant, including, but not limited to, information regarding the
nature of the offense (offense level), the nature of the victim and the injury sustained by the
victim, defendant's role in the offense, whether defendant obstructed justice in the
commission of the crime, defendant's criminal history, and any information
regarding defendant's status as a career offender/armed career criminal. In addition, in order
to comply with the requirements of the Anti-Terrorism Act, the government shall produce
to the U.S. Probation Office information regarding the victims of defendant's alleged criminal
activity, including, but not limited to, the identity of the victim by name, address, and phone
number, and the nature and extent of the victim's loss or injury.

(4) Disclosures by the Defendant. If defendant accepts or requests disclosure of discoverable
information pursuant to Fed. R. CRIM. P. 16(a)(1)(C), (D), or (E), defendant, on or before
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a date set by the court, shall provide to the government all discoverable information within
the scope of Fed. R. Crim. P. 16(b).

SUPPLEMENTATION. The provisions of Fed. R. CRIM. P. 16(c) are applicable. It shall be
the duty of counsel for all parties to immediately reveal to opposing counsel all newly
discovered information, evidence, or other material within the scope of this Rule, and there
is a continuing duty upon each attorney to disclose expeditiously.

MOTIONS FOR DISCOVERY. No attorney shall file a discovery motion without first
conferring with opposing counsel, and no motion will be considered by the court unless it is
accompanied by a certification of such conference and a statement of the moving party's
good faith efforts to resolve the subject matter of the motion by agreement with opposing
counsel. No discovery motions shall be filed for information or material within the scope of
this Rule unless it is a motion to compel, a motion for protective order or a
motion for an order modifying discovery. See Fed. R. CRIM. P. 16(d). Discovery requests
made pursuant to Fed. R. CRIM. P. 16 and this Order require no action on the part of this
court and shall not be filed with the court, unless the party making the request desires to
preserve the discovery matter for appeal.

Done this 4th day of February, 1999.

                                          /s/ W. Harold Albritton
                                          CHIEF UNITED STATES DISTRICT JUDGE

                                          /s/ Myron H. Thompson
                                          UNITED STATES DISTRICT JUDGE

                                          /s/ Ira De Ment
                                          UNITED STATES DISTRICT JUDGE
